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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  REPLY IN SUPPORT OF APPLE’S
           20      a Delaware corporation,                       MOTION IN LIMINE NO. 2:
                                                                 PRECLUDE REFERENCES TO
           21                         Plaintiffs,                IRRELEVANT APPLE
                                                                 OPERATIONS, FINANCES, AND
           22            v.                                      RECRUITING
           23      APPLE INC.,
                   a California corporation,                     Date: Mar. 13, 2023
           24                                                    Time: 1:30pm
                                      Defendant.
           25                                                    Trial: Mar. 28, 2023
           26           REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1                                        INTRODUCTION
             2           Plaintiffs’ opposition (Dkt. 1342-1 (“Opp.”)) confirms that Plaintiffs seek to
             3     introduce irrelevant and highly prejudicial evidence and arguments regarding Apple’s
             4     foreign operations, overall financial resources, and lawful recruitment of employees who
             5     have nothing to do with Plaintiffs’ trade secret allegations. That evidence should be
             6     excluded.
             7           Plaintiffs first seek to dodge Apple’s motion by urging this Court to reject it on
             8     procedural grounds. But contrary to Plaintiffs’ assertions, Apple’s motion is both in
             9     accord with this Court’s procedures and sufficiently specific for this Court to grant the
           10      requested relief.
           11            Plaintiffs’ arguments on the merits fare no better. Plaintiffs struggle to identify
           12      any relevance of Apple’s foreign operations to Plaintiffs’ claims of trade secret
           13      misappropriation in the United States, yet inexplicably seek to keep the door to such
           14      irrelevant and prejudicial evidence open.      And although Apple’s overall size and
           15      finances are plainly irrelevant to Plaintiffs’ claims, Plaintiffs’ opposition confirms that
           16      they improperly (and prejudicially) seek to introduce such evidence as an anchoring
           17      technique to skew the damages horizon for the jury. Plaintiffs similarly seek to introduce
           18      evidence of Apple’s hiring or attempted hiring of employees not alleged to have
           19      misappropriated any of the purported trade secrets despite the fact that both Magistrate
           20      Judge Early and the Special Master have found such evidence wholly irrelevant to
           21      Plaintiffs’ claims.
           22            At bottom, Plaintiffs seek to introduce irrelevant and prejudicial evidence related
           23      to Apple’s operations for the express purpose of improperly appealing to the emotion of
           24      the jury. Courts routinely exclude such evidence—typically by agreement of the parties.
           25      See, e.g., Pinn, Inc. v. Apple Inc., 2021 WL 4777134, at *2-3 (C.D. Cal. July 14, 2021);
           26      Maxell, Ltd. v. Apple Inc., 2021 WL 3021253, at *6, 9-10 (E.D. Tex. Feb. 26, 2021);
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             1     Parthenon Unified Memory Architecture LLC v. Apple Inc., 2016 WL 7743510, at *2-3
             2     (E.D. Tex. Sept. 21, 2016). Plaintiffs’ arguments should be rejected, and this Court
             3     should preclude Plaintiffs from offering evidence, testimony, or argument concerning
             4     irrelevant and prejudicial aspects of Apple’s global operations that have nothing to do
             5     with the claims and technologies at issue in this case.
             6                                          ARGUMENT
             7     I.    PLAINTIFFS’ PROCEDURAL ARGUMENTS FAIL.
             8           Plaintiffs’ meritless procedural objections should be rejected. First, contrary to
             9     Plaintiffs’ contention (Opp. 1-2), this motion does not violate this Court’s limit of four
           10      motions in limine per party. Rather, this motion makes a single set of legal arguments
           11      under Rules 402 and 403 related to a single topic—irrelevant aspects of Apple’s business
           12      operations. That Apple inserted subheadings for readability purposes does not transform
           13      a single motion into several. Moreover, the mere fact that Apple needed to identify
           14      multiple examples of irrelevant Apple business operations merely shows how many
           15      tangents Plaintiffs might well explore at trial unless this Court grants Apple’s motion.
           16            Second, Plaintiffs’ assertion (Opp. 2-3) that this motion should be denied as
           17      unduly vague should be rejected. Plaintiffs point (Opp. 2) to Apple’s use of the word
           18      “including” when describing some sub-categories of irrelevant operations before
           19      providing specific objectionable examples. But not one of Plaintiffs’ cited cases stand
           20      for the proposition that a motion in limine should be denied outright simply because it
           21      uses the word “including” when describing a category of evidence or argument to be
           22      excluded.   For example, several of Plaintiffs’ cited cases involved motions that
           23      referenced nebulously-defined categories of evidence (and without “identifying [any]
           24      specific examples” of evidence for exclusion). Stars & Bars, LLC v. Travelers Casualty
           25      Ins. Co. of Am., 2020 WL 4342250, at *4 (C.D. Cal. May 28, 2020); see also, e.g.,
           26      McCoy v. Kazi, 2010 WL 11465179, at *12 (C.D. Cal. Aug. 27, 2010) (denying as vague
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             1     a motion to exclude “‘problems with and/or complaints’ about witnesses” where the
             2     movant “provide[d] no detail on what specific complaints … or their subject matters”);
             3     Haeger v. Goodyear Tire & Rubber Co., 2009 WL 10635666, at *1 (D. Ariz. Sept. 10,
             4     2009) (denying as “vague” a motion to exclude “inflammatory commentary” by the
             5     parties, their counsel, or witnesses); Trovata, Inc v. Forever 21, Inc., 2009 WL
             6     10671582, at *4 (C.D. Cal. Mar. 4, 2009) (Selna, J.) (denying motion to exclude a set of
             7     nine exhibits when only two were submitted with the motion); Baxter Diagnostics, Inc.
             8     v. Novatek Med., Inc., 1998 WL 665138, *3 (S.D.N.Y. Sept. 25, 1998) (denying, inter
             9     alia, a motion to preclude presentation of evidence on a particular claim). Here, Apple
           10      has made clear what types of evidence it seeks to exclude (e.g., Apple’s international
           11      corporate structure and foreign partners, overall finances, and recruitment of employees
           12      not implicated by Plaintiffs’ trade secret allegations) and, in any event, has provided
           13      specific examples of evidence to be excluded within each subcategory.
           14            The remaining decisions denied the motions because they conflicted with the
           15      court’s prior rulings or basic trial protocol. See, e.g., Apple Inc. v. Samsung Elecs. Co.,
           16      2016 WL 824711, at *1 (N.D. Cal. Mar. 2, 2016) (denying, on retrial, motion to exclude
           17      evidence post-dating the first trial, because the motion did not identify “additional
           18      specific evidence” not precluded by a prior order limiting presentations to materials
           19      timely disclosed before the first trial); Lego v. Stratos Int’l, Inc., 2004 WL 5518162, at
           20      *1 (N.D. Cal. Nov. 4, 2004) (denying motion to preclude use of evidence and adverse
           21      inference therefrom because movant failed to establish discovery violations).
           22            While Apple believes that this motion is sufficiently clear, to the extent this Court
           23      has questions about the scope of any particular subcategory, this Court’s decision in
           24      Trovata provides the appropriate solution. This Court should decide the motion with
           25      respect to the examples Apple identified and require Plaintiffs “to make an offer of proof
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             1      outside the presence of the jury before offering any evidence” that touches on the
             2      excluded category as a whole. Trovata, 2009 WL 10671582, at *4.
             3      II.   THE COURT SHOULD EXCLUDE EVIDENCE AND ARGUMENTS ON APPLE’S
             4            FOREIGN OPERATIONS.
             5            As Apple explained (Mot. 2), evidence and argument related to Apple’s
             6      international corporate structure, corporate tax planning, and foreign partners is
             7      irrelevant to any issue to be decided by the jury. Plaintiffs’ arguments to the contrary
             8      should be rejected.
             9            First, Plaintiffs do not dispute that evidence relating to working conditions at
           10       foreign manufacturing facilities is utterly irrelevant to their trade secret misappropriation
           11       claims.   Instead, Plaintiffs devote an entire paragraph to the very irrelevant and
           12       prejudicial evidence that Apple seeks to exclude before reluctantly—and not without
           13       qualification—agreeing that they have no intent to solicit such evidence. Opp. 3-4. The
           14       assertions in Plaintiffs’ opposition—which are plainly aimed at provoking an emotional
           15       response—merely confirm why such evidence should be excluded. See, e.g., Wyman v.
           16       Sunbeam Prods., Inc., 2021 WL 1531000, at *7 (N.D. Cal. Apr. 19, 2021) (“The
           17       overwhelming danger of prejudice, inflamed passions, and confusion that showing the
           18       jury a video of an unrelated fan fire would cause is so obvious it almost goes without
           19       saying.”). Moreover, Plaintiffs’ suggestion (Opp. 4) that Apple may “open the door” to
           20       such evidence by offering evidence as to its “good culture” should be rejected. Plaintiffs
           21       offer no explanation for why such evidence would “open the door” to working
           22       conditions at foreign facilities. Nor could they—even were Apple to offer evidence on
           23       its own “culture,” that would in no way implicate evidence concerning working
           24       conditions at third party-owned manufacturing facilities.          Indeed, Apple’s Chief
           25       Operating Officer, Jeff Williams, testified
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             1
             2                                                                     Ex. 1 at 282:11-283:4.
             3             Second, Plaintiffs urge the Court to permit evidence as to Apple’s “international
             4      corporate structure, corporate tax planning, and the location of Apple’s foreign partners”
             5      because Apple “could make arguments or elicit testimony” that would make such
             6      evidence relevant at trial.      But Plaintiffs have identified no basis for why such
             7      information could possibly be relevant to Plaintiffs’ trade secret misappropriation claims
             8      in the United States. Moreover, the mere fact that such evidence may become relevant
             9      under some unknown circumstances at trial is not a basis to deny Apple’s in limine
           10       motion. “[A] ruling on a motion in limine is essentially a preliminary opinion that falls
           11       entirely within the discretion of the district court,” which “may change its ruling at trial”
           12       where facts come to light that the court “did not anticipate at the time of its initial ruling.”
           13       Ruiz v. Walmart Inc., 2021 WL 5759043, at *6 (C.D. Cal. Oct. 28, 2021) (quoting City
           14       of Pomona v. SQM N. Am. Corp., 866 F.3d 1060, 1070 (9th Cir. 2017)).
           15              Finally, Plaintiffs seek to distinguish Apple’s cited cases on the ground that “none
           16       is a trade secret case” and “none granted [a] broad categorical exclusion.” Plaintiffs are
           17       wrong on both fronts. The mere fact that Plaintiffs assert trade secret claims does not
           18       render evidence as to Apple’s foreign operations relevant. Indeed, Plaintiffs have
           19       identified no reason why that should make a difference. And contrary to Plaintiffs’
           20       suggestion, the relief granted in Apple’s cited cases confirms that evidence of Apple’s
           21       foreign operations should be excluded. For example, while the court in Pinn, Inc. v.
           22       Apple Inc., 2021 WL 4777134 (C.D. Cal. July 14, 2021), permitted the plaintiff to
           23       introduce “evidence of the fact of foreign manufacturing (and subsequent importation
           24       into the United States)” and “product development events” occurring abroad, those facts
           25       were directly relevant to the question of patent infringement. Id. at *2; see 35 U.S.C. §
           26       271(a) (whoever “imports into the United States any patented invention” is liable for
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             1      patent infringement (emphasis added)); id. § 271(g) (whoever “imports into the United
             2      States … a product which is made by a process patented in the United States” is liable
             3      for patent infringement (emphasis added)). However, the court granted the motion in all
             4      other respects. Pinn, 2021 WL 4777134, at *2; see also Parthenon Unified Memory
             5      Architecture, 2016 WL 7743510, at *3 (excluding evidence related to “the location of
             6      Apple’s suppliers, manufacturers, and press concerning the same,” “Apple’s tax
             7      liabilities,” and “Apple’s dispute with the FBI concerning phone data”). Similarly, in
             8      Maxell, Ltd. v. Apple Inc., 2021 WL 3021253 (E.D. Tex. Feb. 26, 2021), the court only
             9      allowed the plaintiff to “simply refer[] to an Appl[e] supplier or related company” or “a
           10       component … produced by a foreign supplier or manufacturer,” but prohibited the
           11       Plaintiff from referencing “foreign operations in regard to working conditions or labor
           12       issues” or “to imply that Apple outsources American jobs.” Id. at *10. This Court
           13       should do the same here.
           14       III.   THE COURT SHOULD EXCLUDE EVIDENCE AND ARGUMENT ON APPLE’S SIZE
           15              AND OVERALL FINANCES.
           16              As Apple explained (Mot. 3-4), Apple’s overall size and finances are irrelevant to
           17       Plaintiffs’ trade secret misappropriation, damages, and inventorship claims. Plaintiffs
           18       nonetheless attempt to justify their desire to lodge irrelevant and prejudicial evidence
           19       regarding Apple’s overall financial resources before the jury by arguing that Apple has
           20       argued that Plaintiffs are “entitled to limited damages.” Opp. 5. But that is precisely
           21       why this irrelevant evidence should be excluded—“[a]dmission of such overall
           22       revenues, which have no demonstrated correlation to the value of the [alleged trade
           23       secrets], only serve to make [Plaintiffs’] proffered damages amount appear modest by
           24       comparison.” LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 68 (Fed. Cir.
           25       2012).
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             1             First, contrary to Plaintiffs’ assertion (Opp. 5), Apple has not “placed its financial
             2      resources at issue.” Plaintiffs point to opinions offered by Apple’s experts to rebut
             3      Plaintiffs’ damages claims, but none of those opinions comes anywhere close to
             4      implicating Apple’s overall finances. Trade secret damages are limited to the “head
             5      start” period—i.e., “the period in which information is entitled to protection as a novel
             6      idea, plus the additional period, if any, in which a misappropriator retains an advantage
             7      over good faith competitors because of misappropriation.” Nite Glow Indus. v. Cent.
             8      Garden & Pet Co., 2021 WL 2945556, at *6 (Fed. Cir. July 14, 2021) (internal
             9      quotations omitted); see also Dkt. 1280 at 9 n.5 (“A head start advantage refers to the
           10       time period it would have taken the misappropriating party to obtain the trade secret
           11       through proper means.”). Although Apple’s experts opine that the “head start” period
           12       is relatively short given the number of Apple engineers or marketing professionals
           13       available to work on the alleged secrets, none base that opinion on Apple’s overall
           14       revenues, profits, or financial performance; instead, they base their “head start” opinions
           15       on the engineers and employees available to work on the alleged secrets. See, e.g., Ex.
           16       C (Sarrafzadeh) ¶¶ 149, 194, 241, 282, 323, 362, 398, 433, 468, 504, 540 (explaining
           17       that
           18                                                                                           ; Ex. D
           19       (Warren) ¶ 189
           20
           21
           22
           23                   (emphasis added)); Ex. E (Kivetz) ¶ 505 (explaining that
           24
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           26
           27
           28        REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1
             2                  .1
             3               Apple’s experts similarly rely on
             4                                                        —which also do not implicate Apple’s
             5      overall finances. See, e.g., Ex. C (Sarrafzadeh) ¶¶ 149, 194, 241, 282, 323, 362, 398,
             6      433, 468, 504, 540 (explaining that Plaintiffs’ expert, Dr. Madisetti, failed to
             7
             8                                                            (emphasis added)); Ex. D (Warren)
             9      ¶¶ 188, 395 (explaining that
           10
           11                                   (emphasis added)); Ex. E (Kivetz) ¶ 502 (noting that Plaintiffs’
           12       expert fails to
           13
           14                                                                               (emphasis added)).
           15       And where Apple’s experts do estimate the financial resources attributable to the “head
           16       start” period, those numbers are nowhere near approaching Apple’s overall financial
           17       resources. See, e.g., Ex. E (Kivetz) ¶ 511 (“
           18
           19
           20                                ”).
           21                Nor has Apple placed its “lack of resources” at issue. Opp. 6-7. Rather, Mr.
           22       Williams explained—in response to Plaintiffs’ questioning—that
           23
           24                                                                                   Ex. H at 85:19-
           25
           26
                    1
                        Dr. Lamego’s testimony on which Plaintiffs rely (Opp. 6) similarly focused on the
                                                               —not Apple’s overall financial resources.
           27           See Ex. G at 127:18-22 (stating that                                              ).
           28           REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      88:19. He further explained that Apple has
             2
             3                          Id. at 94:10-95:1.2 However, Mr. Williams never described Apple’s
             4      financial resources as limited or otherwise placed Apple’s overall finances at issue.
             5               Second, Plaintiffs vaguely suggest—without support—that Apple has argued that
             6                                                                              . Opp. 7-8. Apple
             7      has never made that argument. Rather, Adrian Perica—Apple’s Vice President of
             8      Corporate Development and
             9
           10                                                     Ex. 3 (Perica Tr.) at 138:18-139:7, 140:12-
           11       141:14. Moreover, while Mr. Perica explained that
           12
           13                                                                                              . Id.
           14       at 122:6-124:16
           15
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           21                                                       ; see also id. at 122:11-123:5 (noting that
           22
           23                                                                            ). Thus, the mere fact
           24
           25       2
                     Plaintiffs’ claim that Apple did not seek FDA approval for its SpO2 feature because it
           26       “lacks the technical knowledge and experience to build an accurate pulse oximeter”
                    (Opp. 7) is false attorney argument. Mr. Williams testified                      .
           27       See Ex. H at 95:2-6.
           28           REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      that Apple did not acquire Masimo—for reasons wholly unrelated to the cost of doing
             2      so—does not provide a basis for interjecting prejudicial evidence regarding Apple’s
             3      overall finances.
             4            Third, evidence of Apple’s overall finances is not admissible to “correct the
             5      juror’s unknown assumptions and potential misconceptions.” Opp. 8. Plaintiffs cite no
             6      case support for that proposition, and if correcting unknown assumptions and
             7      misconceptions were a test for admissibility, there would be no limit to what could be
             8      put before a jury. The mere fact that some jurors may have preconceived notions about
             9      “how large Apple is” (Opp. 8) does not provide a basis to introduce irrelevant and unduly
           10       prejudicial information about Apple’s overall finances into this case. Such evidence
           11       should be excluded.
           12       IV.   THE COURT SHOULD EXCLUDE EVIDENCE AND ARGUMENT ON APPLE’S
           13             RECRUITMENT OF EMPLOYEES OTHER THAN DRS. O’REILLY AND LAMEGO.
           14             As Apple explained (Mot. 4-5), apart from Drs. O’Reilly and Lamego, Plaintiffs
           15       have never identified any other former Masimo or Cercacor employee as relevant to any
           16       alleged misappropriation by Apple. While Plaintiffs claim that is “false” (Opp. 12), they
           17       point to only bald allegations that Apple hired or attempted to hire Plaintiffs’ former
           18       employees without any facts to suggest that any such former employee has any relevance
           19       to the alleged trade secrets that form the basis for Plaintiffs’ claims. Both Magistrate
           20       Judge Early and the Special Master rejected the very same assertions of relevance that
           21       Plaintiffs now make at the discovery stage where the threshold for relevance is even
           22       lower than it is here. This Court should too.
           23             A.     Apple’s Hiring Of Employees Not Alleged To Have Misappropriated
           24                    Any Alleged Trade Secrets Is Irrelevant And Unduly Prejudicial.
           25             Plaintiffs spend nearly two pages of their brief (Opp. 9-10) selectively quoting
           26       from disparate documents in an attempt to contrive some marginal relevance of Apple’s
           27
           28        REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      hiring of employees other than Drs. O’Reilly and Lamego. But critically, none of
             2      Plaintiffs’ cited documents indicates that other former employees are responsible for any
             3      purported misappropriation by Apple or even had knowledge of the alleged trade secrets
             4      at issue in this case in the first place. At best, the exhibits on which Plaintiffs rely show
             5      that, at some point in time—including, for many employees,
             6                                                        (see Ex. R at 16-18)—Apple hired or
             7      considered hiring individuals who at some point in the past worked at Masimo or
             8      Cercacor. But the mere fact that Plaintiffs’ former employees were later recruited or
             9      hired by Apple is insufficient to render those employees relevant to the claims at issue
           10       here.
           11               California law provides employees with broad freedom to move between
           12       employers and to seek employment within their given profession. See Cal. Bus. & Prof.
           13       Code § 16600 (“Except as provided in this chapter, every contract by which anyone is
           14       restrained from engaging in a lawful profession, trade, or business of any kind is to that
           15       extent void.”); Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937, 946 (2008) (“[C]ourts
           16       have consistently affirmed that section 16600 evinces a settled legislative policy in favor
           17       of open competition and employee mobility. The law protects Californians and ensures
           18       that every citizen shall retain the right to pursue any lawful employment and enterprise
           19       of their choice. It protects the important legal right of persons to engage in businesses
           20       and occupations of their choosing.”) (internal quotations and citation omitted). Thus, as
           21       courts have repeatedly confirmed, there is nothing unlawful about recruiting and hiring
           22       another company’s employees. See, e.g., VL Sys., Inc. v. Unisen, Inc., 152 Cal. App. 4th
           23       708, 713 (2007) (“Indeed, ‘no actionable wrong is committed by a competitor who
           24       solicits his competitor’s employees or who hires away one or more of his competitor’s
           25       employees who are not under contract, so long as the inducement to leave is not
           26       accompanied by unlawful action[.]’” (quoting Diodes, Inc. v. Franzen, 260 Cal.App.2d
           27
           28        REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      244, 255 (1968))); Cypress Semiconductor Corp. v. Maxim Integrated Prods., Inc., 236
             2      Cal. App. 4th 243, 261 (2015) (“Amidst such dross the only colorably actionable conduct
             3      attributed to Maxim is its attempt, through Mushel, to recruit Cypress employees. In the
             4      absence of additional, liability-producing circumstances, that conduct was entirely
             5      lawful.”). Given Plaintiffs’ failure to make any connection between their other former
             6      employees and the alleged misappropriation, the fact that Apple interviewed or hired
             7      those employees is simply irrelevant.3
             8               Plaintiffs nonetheless admit that they seek to leverage Apple’s hiring of their
             9      former employees to suggest to the jury that “Apple did so for the purpose of obtaining
           10       Masimo’s trade secrets.” Opp. 12. That is precisely why the evidence should be
           11       excluded. Plaintiffs should not be permitted to suggest—as they do in their brief (Opp.
           12       15)—that Apple’s hiring of Plaintiffs’ former employees is somehow “damning” or
           13       unlawful when California law is directly to the contrary. Supra pp. 11-12; see also Mot.
           14       5 (explaining that admitting evidence related to Apple’s hiring of other former
           15       employees is highly prejudicial under Rule 403). Despite Plaintiffs’ protestations to the
           16       contrary, allowing such evidence before the jury would be inviting the jury to decide
           17       this case based on an “improper basis.” Opp. 14-15 (quoting United States v. Allen, 341
           18       F.3d 870, 886 (9th Cir. 2003)). That is particularly true given that Plaintiffs have never
           19       alleged that any former employee other than Drs. O’Reilly and Lamego misappropriated
           20       Plaintiffs’ alleged trade secrets while working at Apple, and nothing connects Plaintiffs’
           21       other former employees to this case beyond the basic (and unsurprising) fact that they
           22       may have continued to work in the same general technical field at Apple as they did
           23       when working for Plaintiffs. It would thus be highly prejudicial to force Apple to
           24
                    3
           25        Contrary to Plaintiffs’ suggestion (Opp. 14), Reeves v. Hanlon, 33 Cal. 4th 1140,
                    1151 (2004), is consistent. There, the court explained that “[w]here no unlawful
           26       methods are used, public policy generally supports a competitor’s right to offer more
                    pay or better terms to another’s employee, so long as the employee is free to leave.”
           27       Id.
           28           REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      “present evidence to try to convince the jury” that its hiring of Plaintiffs’ former
             2      employees is “innocent” (Opp. 15) when recruiting and hiring activity is expressly
             3      protected under California law.
             4            Plaintiffs’ reference (Opp. 10) to information provided by two former employees
             5      during their interviews with Apple is similarly misplaced.4        As an initial matter,
             6      Plaintiffs do not allege that the information exchanged relates in any way to the alleged
             7      trade secrets. Moreover, both Magistrate Judge Early and the Special Master have
             8      previously rejected the very same argument. For example, in rejecting Plaintiffs’
             9      argument that “recruiting of all of our employees is directly relevant,” Judge Early
           10       explained that “just because someone changed jobs does not make it relevant to a trade
           11       secret case.” Dkt. 443 (June 3, 2021 Hr’g Tr.) at 65:7-24. He further explained that—
           12       even at the discovery stage—evidence related to Plaintiffs’ former employees must be
           13       “tied to the specific issues of the case” and not simply “any former employee not tied to
           14       the issues.” Id. at 59:20-60:13. The Special Master reached a similar conclusion in
           15       denying Plaintiffs’ motion to compel discovery as to their former employees, explaining:
           16                    For most of the remaining eight listed employees, Masimo
           17             essentially states that they are relevant because they worked in a similar
                          field of technology at both Masimo and Apple. Some also discussed their
           18             experience at Masimo during their interviews with Apple.
           19                     Masimo’s arguments for most of the eight employees are insufficient
                          to tie them to the trade secret allegations in this case. The simple fact that
           20             an employee worked in the same field of technology at two companies is
           21             not enough. Moreover, as Apple notes, most of the individuals listed have
                          not been named as ESI custodians, and are not alleged in this case to have
           22             themselves misappropriated Masimo’s trade secrets.
           23
           24
           25
                    4 Notably, Apple did not even hire                  See Ex. R at 16-18 (
           26
                                                                                      ); Ex. S at -694
           27       (noting that
           28        REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      Dkt. 617 (Discovery Order No. 4) at 3 (emphasis added). This Court should reach the
             2      same conclusion here.5
             3               Plaintiffs’ cited cases (Opp. 11) are not to the contrary, as none hold that hiring
             4      and recruitment of employees not alleged to have misappropriated any purported trade
             5      secrets should be admitted at trial to prove trade secret misappropriation. The courts in
             6      both Albert’s Organics, Inc. v. Holzman, 445 F. Supp. 3d 463, 469 (N.D. Cal. 2020),
             7      and Melaleuca, Inc. v. Max International, LLC, 2010 WL 11651949, at *1 (D. Idaho
             8      Sept. 30, 2010), merely recited allegations set forth in the complaint in the context of
             9      deciding a motion to dismiss. In Cutera, Inc. v. Lutronic Aesthetics, Inc., 444 F. Supp.
           10       3d 1198, 1202-1203, 1207 (E.D. Cal. 2020)—which addressed a motion for temporary
           11       restraining order—each of the former employees at issue was alleged to have taken files
           12       from their former employer. And First American Title Insurance v. Northwest Title
           13       Insurance Agency, No. 15-CV-00229 (D. Utah), is readily distinguishable, as the motion
           14       in limine at issue involved whether the title of a Rule 1006 summary exhibit was unduly
           15       prejudicial, not whether the plaintiff was permitted to introduce evidence of recruitment
           16       of former employees not relevant to the claims at issue. See Ex. 4 at 1-2 (First Am. Title
           17       Ins. Co. v. Nw. Title Ins. Agency, LLC, No. 2:15-CV-00229, Dkt. 318 (D. Utah)).
           18       Moreover, the claims at issue there involved “numerous breaches of contract and
           19       intentional and malicious commission of business torts”—claims that are not at issue
           20       here. Ex. 5 at 1, 3 (First Am. Title Ins. Co. v. Nw. Title Ins. Agency, LLC, No. 2:15-CV-
           21       00229, Dkt. 341 (D. Utah)) (“The existence of at will employment does not negate First
           22       American’s (or any litigant’s) right to prove that Defendants here improperly solicited
           23       First American employees to join Northwest Title, in violation of contractual obligations
           24
                    5
           25         Contrary to Plaintiffs’ suggestion (Opp. 11), this Court did not find Apple’s hiring of
                    employees other than Drs. O’Reilly and Lamego relevant to Plaintiffs’ claims; the Court
           26       instead relied only on Apple’s hiring of those two individuals in deciding Plaintiffs’
                    summary judgment motion. Dkt. 1275 at 10; see also Dkt. 1022 at 4 n.1 (limiting
           27       deposition of Tim Cook to Apple’s recruitment of O’Reilly and Lamego).
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             1      and tort law.”). None of those cases supports introducing irrelevant and prejudicial
             2      evidence of Apple’s hiring of former employees not related to the alleged
             3      misappropriation, as Plaintiffs seek to do here.
             4            B.     Apple’s Hiring Of Employees Not Alleged To Have Misappropriated
             5                   The Alleged Trade Secrets Is Not Admissible Under Rules 404 Or
             6                   406.
             7            Apparently recognizing the lack of relevance of Apple’s hiring of employees other
             8      than Drs. O’Reilly and Lamego, Plaintiffs claim those actions are nonetheless
             9      “admissible under Rules 404 and 406.” Opp. 13. But the Ninth Circuit has made clear
           10       that “Rule 404, which … deals with ‘character’ evidence, and its subsection 404(b) …
           11       is not a different pathway to the admission of evidence [from FRE 402]”; it is “simply
           12       a specific qualification of the general rule of admissibility of all relevant evidence.”
           13       United States v. Curtin, 489 F.3d 935, 943 (9th Cir. 2007) (en banc) (emphasis added).
           14       And Plaintiffs fail to explain how Apple’s hiring of other employees has any bearing on
           15       its “motive,” “intent,” or “plan” to hire Drs. O’Reilly or Lamego for the purposes of
           16       misappropriating Plaintiffs’ alleged trade secrets, or Apple’s purported “knowledge”
           17       or “lack of mistake” in doing so, particularly where Plaintiffs have not alleged that any
           18       of those other employees misappropriated any of Plaintiffs’ alleged trade secrets.
           19             In any event, even were the fact that Apple hired other former Masimo or Cercacor
           20       employees to have some marginal relevance to any of those issues (it does not), such
           21       evidence should nonetheless be excluded as unduly prejudicial. See United States v.
           22       Lloyd, 807 F.3d 1128, 1158 (9th Cir. 2015) (“[T]he probative value of [Rule 404(b)]
           23       evidence must not be ‘substantially outweighed by the danger of unfair prejudice.’”
           24       (quoting United States v. Blitz, 151 F.3d 1002, 1008 (9th Cir. 1998))); Curtin, 489 F.3d
           25       at 944 (even relevant evidence that falls under Rule 404(b) is still subject to Rule 403);
           26       United States v. Schuette, 2023 WL 163490, at *2 (N.D. Cal. Jan. 11, 2023) (“If the
           27
           28        REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      evidence meets the test under Rule 404(b), the court must then decide whether the
             2      probative value is substantially outweighed by the prejudicial impact under Rule 403.”);
             3      see also Fed. R. Evid. 404, Advisory Committee Note (“The determination must be
             4      made whether the danger of undue prejudice outweighs the probative value of the
             5      evidence in view of the availability of other means of proof and other facts appropriate
             6      for making decision of this kind under Rule 403.”); see also Mot. 5 (explaining that the
             7      evidence should be excluded under Rule 403); supra pp. 12-13 (same).
             8            Nor is Apple’s hiring of other former employees admissible under Rule 406.
             9      Although Rule 406 allows for admission of evidence of an “organization’s routine
           10       practice” to show that the “organization acted in accordance with” that practice, Apple’s
           11       hiring of other former Masimo or Cercacor employees does not show that Apple has a
           12       “practice” of engaging in misappropriation, not least because Plaintiffs have identified
           13       no purported misappropriation associated with Apple’s hiring of those employees.
           14       And, as discussed above (supra pp. 11-14), any purported “routine practice” of hiring
           15       qualified employees is simply irrelevant to the claims at issue. See United States v.
           16       Angwin, 271 F.3d 786, 799 (9th Cir. 2001), overruled on other grounds by United States
           17       v. Lopez, 484 F.3d 1186 (9th Cir. 2007) (“Rule 406 is an exception to the general
           18       exclusion of character evidence under the Federal Rules, so courts are somewhat
           19       cautious in admitting the evidence.”).
           20             Plaintiffs should be precluded from attempting to interject this irrelevant and
           21       highly prejudicial evidence into the case.
           22                                           CONCLUSION
           23             Apple respectfully requests that the Court preclude Plaintiffs from offering
           24       evidence, testimony, or argument concerning aspects of Apple’s global operations that
           25       are irrelevant to the claims and technologies at issue in this case, including Apple’s
           26
           27
           28        REPLY ISO APPLE’S MOTION IN LIMINE NO. 2: PRECLUDE REFERENCES TO IRRELEVANT APPLE
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             1      foreign operations, its overall financial performance, and any purported systematic
             2      recruitment of Plaintiffs’ former employees.
             3
             4      Dated: February 27, 2022               Respectfully submitted,

             5
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             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., Certifies that this
             3      brief contains 5,232 words, which [choose one]:
             4             X complies with the word limit of L.R. 11-6.1.
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: February 27, 2022               Respectfully submitted,
             8
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